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 1   Joseph R. Saveri (State Bar No. 130064)
     Steven N. Williams (State Bar No. 175489)
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 9   Counsel for Individual and Representative Plaintiﬀ
     Self-Insured Schools of California, on behalf of itself and
10   all others similarly situated
11

12                                 UNITED STATES DISTRICT COURT
13                              NORTHERN DISTRICT OF CALIFORNIA
14

15   IN RE: XYREM (SODIUM OXYBATE)                           Master File No. 5:20-md-02966-LHK
     ANTITRUST LITIGATION                                    Civil Action No. 5:21-cv-00020-LHK
16

17                                                           NOTICE OF VOLUNTARY DISMISSAL
                                                             WITHOUT PREJUDICE OF
18                                                           WOCKHARDT LTD, MORTON GROVE
                                                             PHARMACEUTICALS, INC., AND
19                                                           WOCKHARDT USA LLC
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      Master File No. 5:20-md-02966-LHK
28    Civil Action No. 5:21-cv-00020-LHK
               NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE OF WOCKHARDT LTD, MORTON GROVE
                                 PHARMACEUTICALS, INC., AND WOCKHARDT USA LLC
          Case 3:20-md-02966-RS          Document 39       Filed 01/27/21      Page 2 of 2



 1      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), and in accordance with the terms of a

 2   tolling agreement between Plaintiﬀ Self-Insured Schools of California and Defendants Wockhardt LTD,

 3   Morton Grove Pharmaceuticals, Inc., and Wockhardt USA LLC, dated January 26, 2021, Plaintiﬀ

 4   hereby gives notice that the above captioned action Civil Action No. 5:21-cv-00020-LHK is voluntarily

 5   dismissed without prejudice against Defendants Wockhardt LTD, Morton Grove Pharmaceuticals, Inc.,

 6   and Wockhardt USA LLC.

 7

 8

 9   Dated: January 27, 2021                       Respectfully Submitted,

10                                                 JOSEPH SAVERI LAW FIRM, INC.

11
                                                   By:          /s/ Joseph R. Saveri
12                                                                 Joseph R. Saveri

13                                                 Joseph R. Saveri (State Bar No. 130064)
                                                   Steven N. Williams (State Bar No. 175489)
14
                                                   Kyle P. Quackenbush (State Bar No. 322401)
15                                                 Anupama K. Reddy (State Bar No. 324873)
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                                                   Counsel for Individual and Representative Plaintiﬀ
19                                                 Self-Insured Schools of California, on behalf of itself and
                                                   all others similarly situated
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28    Master File No. 5:20-md-02966-LHK
      Civil Action No. 5:21-cv-00020-LHK              1
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                               PHARMACEUTICALS, INC., AND WOCKHARDT USA LLC
